     Caution
As of: August 5, 2024 11:46 PM Z


                              Jordan v. Joe B. Beasley & Assoc., L.P.
                 United States District Court for the Middle District of Tennessee, Nashville Division
                                                 January 12, 2024, Filed
                                                Case No. 3:23-cv-00496

Reporter
2024 U.S. Dist. LEXIS 6744 *; 2024 WL 150584

DAVID JORDAN, Plaintiff, v. JOE B. BEASLEY &                   During oral argument, the Court questioned Jordan's
ASSOCIATE, L.P., Defendant.                                    counsel about conclusory allegations of ADA violations
                                                               and injury in the Complaint and asked counsel to
Subsequent History: Appeal filed, 02/08/2024
                                                               identify specific, non-conclusory allegations in the
                                                               Complaint:
Core Terms                                                         THE COURT: . . . Where in your Complaint does
                                                                   [Jordan] tell me how these violations, technical or
allegations, motion to dismiss, tester, amend, patronize,          otherwise, affected him, you know, when he went to
barriers, visited, violations, quotation, disabled, lawsuit,       -- when he went to the Avis?
attorney's fees, car rental, courts, hotel,
accommodation, encountered, website, marks, oral               MS. HUTTO: Your Honor, that is not in the
argument, credit union, conclusory, entrance, mootness,        Complaint.+++ (Doc. No. 45 at 25:15-20). [*2] Jordan's
resident, intends                                              counsel requested an opportunity to amend the
                                                               Complaint to include more specific allegations. (See id.
Counsel: [*1] For David Jordan, an individual, Plaintiff:      at 10:12-18). The Court allowed Jordan's counsel to file
Rebecca J. Hutto, Wampler, Carroll, Wilson &                   a motion to amend the Complaint, but cautioned
Sanderson, P.C., Memphis, TN.                                  counsel that:
For Joe B. Beasley & Associates, LP, a limited
                                                                   [Y]ou're going to have to explain — you're going to
partnership, Defendant: William Kennerly Burger,
                                                                   have to present good cause. And a big threshold
Burger, Scott & McFarlin, Murfreesboro, TN.
                                                                   you're going to have to address is why you didn't
                                                                   put this in the Complaint to begin with. Because --
Judges: WAVERLY D. CRENSHAW, JR., CHIEF
UNITED STATES DISTRICT JUDGE.                                      you filed the Complaint. You served the Complaint.
                                                                   The defendant has a right to move to dismiss. He's
Opinion by: WAVERLY D. CRENSHAW, JR.                               done that. There were all kind of opportunities
                                                                   under Rule 12. You could have said I want to
                                                                   amend. Rule 56, you could have given me [a] 56[d]
Opinion                                                            affidavit. You didn't do any of those things. You
                                                                   responded. He replied. The record's closed. So
                                                                   you're going to have to explain why none of that
                                                                   was done.
MEMORANDUM OPINION
                                                               (Id. at 27:4-16. See also id. at 10:12-18.). Before ending
Joe B. Beasley & Associates, L.P. ("Beasley &
                                                               the hearing, the Court again cautioned Jordan's counsel
Associates") filed a Motion to Dismiss and for Summary
                                                               concerning any motion to amend:
Judgment, seeking dismissal of the Complaint filed by
David Jordan ("Jordan") pursuant to Federal Rules of               But again, even before you get to the missing
Civil Procedure 12(b)(6) and 56 (Doc. No. 24). Jordan              information in the Complaint, there's a big threshold
responded (Doc. No. 28), and Beasley & Associates                  here. And that is why wasn't it done earlier [sic].
replied (Doc. No. 31). The Court heard oral argument on            Because as I've pointed out, you had multiple
the motion on December 21, 2023. (Doc. No. 40).                    opportunities to do so. And you're going [*3] to


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    have to give me a good reason for why it wasn't            very near future as a patron and as an independent
    done. . . . And another good reason for why you're         advocate [*5] for the disabled, in order to utilize all of
    just coming up with these new facts after the record       the goods, services, facilities, advantages and/or
    is closed. And then I'll — we'll see if you've satisfied   accommodations commonly offered to able-bodied
    the rule in terms of that standard.                        patrons." (Id. ¶ 28).

(Id. at 30:24-31:7).                                           Based on his visit, Jordan alleges the following "physical
                                                               barriers" to his access to Avis:
Jordan did not heed the Court's instructions. After oral            • "There is no van accessible parking present";
argument, Jordan filed a motion to supplement his                   • "There is no designated accessible parking space
response to Beasley & Associates' motion (Doc. No.                  present";
41), and included a declaration and three photographs               • "There is no access aisle serving the parking
(Doc. Nos. 41-2, 43). Beasley & Associates oppose                   spaces closest to the entrance" of the car rental
Jordan's motion to supplement. (Doc. No. 44). The                   center;
motions are ripe for review. The Court will deny Jordan's           • "There is no van-accessible parking identified as
motion to supplement his response to Beasley &                      such with upright 'Van Accessible' signage";
Associates' motion, deny Jordan's alternative request to            • "The [sic] is no visible upright signage (displaying
amend the Complaint, and grant Beasley & Associates'                the    International     Symbol     of   Accessibility)
motion to dismiss.                                                  designating parking spaces as accessible";
                                                                    • "The paint delineating the parking spaces closest
                                                                    to the entrance is not being maintained so that it
BACKGROUND                                                          clearly marks the accessible parking location"; and
                                                                    • "The paved area immediately outside the
Jordan is a person with a physical disability who uses a
                                                                    purported accessible entrance door has an uneven
wheelchair. (Doc. No. 1 ¶¶ 6-8). He is also a self-
                                                                    inclined approach that extends into the minimum
described ADA "tester" and "an independent advocate
                                                                    level maneuvering clearance required for a
of the rights of similarly situated disabled persons." (Id.
                                                                    wheelchair user to approach and access each
¶ 9). As an ADA tester, he "monitor[s], determine[es]
                                                                    entrance's outward swinging entrance door."
and ensur[es] whether places of public accommodation
are in compliance with the ADA" and files lawsuits [*4]        (Id. ¶ 31(a)-(g)).
when he determines a business is not ADA compliant.
(Id.). Jordan has a "desire to utilize ADA litigation to
make his home community more accessible for [himself]          LEGAL STANDARD
and others." (Id.)
                                                               To survive a motion to dismiss for failure [*6] to state a
In September 2022, Jordan visited the Avis Car Rental          claim, a complaint must include "a short and plain
("Avis") located at 1631 NW Broad Street, Murfreesboro,        statement of the claim showing that the pleader is
Tennessee 37129 as part of his role as an ADA tester,
                                                               entitled to relief." Fed. R. Civ. P. 8(a)(2). In reviewing a
(Id. ¶¶ 11, 17), which is owned by Beasley &                   motion to dismiss, the Court must "construe the
Associates. (Id. ¶ 12). Jordan lives within 30 miles of
                                                               complaint in the light most favorable to the plaintiff,
Avis and frequently drives along the road on which is it       accept all well-pleaded factual allegations in the
located. (Id. ¶ 13). He has visited this Avis location on
                                                               complaint as true, and draw all reasonable inferences in
several prior occasions. (Id. ¶ 15).                           favor of the plaintiff." Courtright v. City of Battle Creek,
Jordan alleges that during his September 2022 visit, his       839 F.3d 513, 518 (6th Cir. 2016). However, the Court
"access to the [Avis] and/or full and equal enjoyment of       will "disregard bare legal conclusions and naked
the goods, services, facilities, privileges, advantages        assertions" and "afford[] the presumption of truth only to
and/or accommodations offered therein were denied              genuine factual allegations." Dakota Girls, LLC v.
                                                               Philadelphia Indem. Ins. Co., 17 F.4th 645, 648 (6th Cir.
and/or limited because of his disabilities, and he will be
denied and/or limited in the future unless and until           2021) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678, 129
                                                               S. Ct. 1937, 173 L. Ed. 2d 868 (2007)) (internal
[Beasley & Associates] is compelled to remove the
physical barriers to access and correct the ADA                quotations omitted). Nor can the Court "credit a
                                                               threadbare recital of the elements of a cause of action ...
violations that exist at the [Avis]." (Id. ¶ 14). He further
alleges that he "intends to visit the [Avis] again in the      supported by mere conclusory statements." Dakota
                                                                                                          Exhibit D
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Girls, 17 F.4th at 648 (citing Iqbal, 556 U.S. at 678))       when there is undue delay. See Doe v. Michigan State
(internal quotations omitted). The "factual allegations in    University, 989 F.3d 418, 426 (6th Cir. 2021). For
the complaint need to be sufficient to give notice to the     example, in Doe v. Michigan State University, the Sixth
defendant as to what claims are alleged, and the plaintiff    Circuit upheld a district court's denial of a motion to
must plead 'sufficient factual matter' to render the legal    amend because "the facts that Doe sought to add in his
claim plausible, i.e., more than merely possible."            [second amended complaint] were available to Doe at
Cabinets to Go, LLC v. Qingdao Haiyan Real Est. Grp.          the time of his first amendment, and . . . Doe failed to
Co., 605 F. Supp. 3d 1051, 1057 (M.D. Tenn. 2022)             offer any excuse for omitting them when he first
(quoting Fritz v. Charter Twp. of Comstock, 592 F.3d          amended his complaint." Id.
718, 722 (6th Cir. 2010)), reconsideration denied sub
nom. No. 3:21-CV-00711, 2023 U.S. Dist. LEXIS                 Here, Jordan has offered no reason for his failure to
136734, 2023 WL 5013055 (M.D. Tenn. Aug. 7, 2023).            offer specific, non-conclusory allegations in his initial
"Ultimately, only a complaint that states a plausible         Complaint or to amend his Complaint as of right within
claim for relief survives a motion to dismiss." Dakota        21 days of Beasley & Associate's motion to dismiss.
Girls, 17 F.4th at 648 (quoting Iqbal, 556 U.S. at 679))      See Fed. R. Civ. P. 15(a)(1)(B). Nor has he offered any
(internal quotations [*7] omitted). To avoid dismissal        reason why he could not have filed his declaration and
under Rule 12(b)(6), a complaint must contain either          pictures of Avis in his original response to Beasley &
direct or inferential allegations with respect to all         Associate's motion. (See Doc. Nos. 41, 41-1). In fact,
material elements of each claim. Wittstock v. Mark A.         the declaration contains no information not known to
Van Sile, Inc., 330 F.3d 899, 902 (6th Cir. 2003).            Jordan when he filed his Complaint, (see Doc. No. 41-
                                                              2), and the pictures of the Avis parking lot appear to be
                                                              taken before Beasley & Associates filed its motion to
DISCUSSION                                                    dismiss, as the photos do not show the repainted lines
                                                              and rehung accessible [*9] parking sign that Newman
The Court addresses Jordan's motion first.                    attests she did prior to filing the motion to dismiss. (See
                                                              Doc. Nos. 43-1, 43-2; Doc. No. 25 ¶ 14). Jordan's
                                                              counsel and other attorneys at her firm have filed more
I. Jordan's Motion to Supplement Response or                  than 80 lawsuits before this Court since 2019. They
Amend Complaint                                               should be aware of the Federal Rules of Civil Procedure
                                                              and know how to practice before this Court. Because
The Court warned Jordan's counsel that in filing any          they have offered no explanation for their failure to
motion to amend the Complaint or supplement his               properly and timely plead their Complaint, the Court
response, counsel must show good cause why the                denies their motion to supplement their response to the
Complaint was not amended or additional evidence was          motion to dismiss and further denies their motion to
not presented prior to responding to Beasley &                amend the Complaint. To do otherwise would denigrate
Associate's motion to dismiss and for summary                 the Federal Rules of Civil Procedure and ratify litigation
judgment. (See Doc. No. 45 at 10:12-18, 27:4-16).             practice outside of the boundaries created by those
Jordan's motion to supplement his response does not           Rules.
provide any reason for his delay, nevermind a showing
of good cause. (See generally Doc. Nos. 41, 41-1).
                                                              II. Beasley & Associate's Motion to Dismiss
Fed. R. Civ. P. 15 requires courts to "freely give leave"
to a plaintiff seeking to amend his complaint "when
                                                              As an initial matter, Beasley & Associates filed its
justice so requires." However, a plaintiff's right to amend
                                                              motion to dismiss after answering the Complaint.
as of right without showing good cause is limited. See
                                                              Though Beasley & Associates styled its motion as a
Fed. R. Civ. P. 15(a), 16(b)(4). Nor may a plaintiff
                                                              Fed. R. Civ. P. 12(b)(6) motion, the Court will instead
amend a complaint at trial if doing so would prejudice
                                                              examine it as a Rule 12(c) motion for judgment on the
the defendant. See Fed. R. Civ. P. 15. Thus, it is clear
                                                              pleadings. Walker v. Sealey, 2015 U.S. Dist. LEXIS
that, while courts generally allow timely-filed motions to
                                                              164610, 2015 WL 8055901, at *1 (M.D. Tenn. Dec. 4,
amend the complaint, this practice does not allow [*8]
                                                              2015). A motion for judgment on the pleadings is
plaintiffs to ignore the rules of civil procedure,
                                                              "reviewed under the same legal standards as a Fed. R.
scheduling deadlines, or prejudice to their adverse
                                                              Civ. P. 12(b)(6) motion to dismiss." Id. (citing Lindsay v.
parties. That is why courts may deny requests to amend
                                                              Yates, 498 F.3d 434, 437 n.5 (6th Cir. 2007)).
                                                                                                        Exhibit D
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Beasley & Associates' motion raises both standing and           both that he intends to return as a patron to [Toys-R-Us']
mootness [*10] issues, in addition to arguing that the          store and that he continues to desire to visit [Toys-R-
Complaint fails to meet notice pleading requirements.           Us'] store, but genuinely fears that he will continue to
The Court may evaluate standing and mootness in any             experience serious difficulty due to the excessive slopes
order. Acheson Hotels, LLC v. Laufer, 144 S. Ct. 18, 21,        in [Toys-R-Us'] parking lot." Id. at 580-81. The Sixth
217 L. Ed. 2d 155 (2023). The Court will address                Circuit found these [*12] allegations "plausible in light of
standing first. Because the Court finds that Jordan does        (1) his alleged history of visiting the Chattanooga,
not have standing, the Court need not reach the issues          Tennessee area; (2) his allegations that he has visited
of mootness. The Court will then explain why, if Jordan         and attempted to patronize [Toys-R-Us's] store
had standing, his Complaint does not plausibly allege           numerous times, most recently in January and April
his ADA claim. Finally, the Court will also address             2012; (3) his allegations of past injury in [Toys-R-Us's]
Beasley & Associates' allegations that Jordan and his           parking lot; (4) his allegations setting forth reasons why
attorneys have engaged in "a patently unethical                 he makes regular trips to Chattanooga, Tennessee, and
business model" by abusing Title III of the ADA "for their      why he particularly enjoys visiting the shopping center in
own financial benefit." (Doc. No. 24 at 1-2).                   which [Toys-R-Us] is located; and (5) his alleged plan to
                                                                return to the property at the end of the month in
                                                                connection with a trip to visit his sister-in-law." Id.
1. Standing                                                     (internal quotation marks omitted).

To sue in federal court, a plaintiff must satisfy Article III   In Brintley v. Aeroquip Credit Union, the Sixth Circuit
standing through pleading "(1) he or she suffered an            reached the opposite conclusion that it reached in
injury in fact that is concrete and particularized and          Gaylor. In that case, Brintley, who is blind, sued a credit
actual or imminent, not conjectural or hypothetical; (2)        union because its website is not compatible with screen-
the injury is fairly traceable to the challenged action of      reader devices, which "scan[] webpages and narrate[]
the defendants; and (3) it is likely that the injury will be    their content" for blind individuals. 936 F.3d 489, 491
redressed by a favorable decision." Mosley v. Kohl's            (6th Cir. 2019). Chief Judge Sutton found that Brintley
Dep't Stores, Inc., 942 F.3d 752, 757 (6th Cir. 2019)           had no standing to sue the credit union because "state
(quoting Lujan v. Defenders of Wildlife, 504 U.S. 555,          law barred her from receiving any of the credit unions'
560-61, 112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992))              financial services," in light of the membership
(internal quotation marks omitted). Plaintiffs requesting       requirements and her [*13] failure to "ma[ke] any efforts
injunctive relief, as Jordan is here, must "show both past      to become eligible." Id. at 492. Because she was
injury and a real and immediate [*11] threat of future          ineligible to receive the credit union's services, the credit
injury." Id. (quoting Houston v. Marod Supermarkets,            union could not have injured her. Id. Moreover, Brintley
Inc., 733 F.3d 1323, 1329 (11th Cir. 2013)) (internal           failed to meet her "burden to allege some real interest in
quotation marks omitted).                                       the information" on the credit union website, and as a
                                                                result, "deprive[d] [the court] of power over the matter."
The Sixth Circuit has addressed the standing of so-
                                                                Id. at 493.
called ADA tester plaintiffs on at least three occasions.
In the first of these cases, Gaylor, a Georgia resident         Finally, in Mosley v. Kohl's Department Stores, Inc., the
who uses a wheelchair, sued a Toys-R-Us located in              Sixth Circuit found a tester plaintiff did have standing
Chattanooga, Tennessee "alleging that he observed and           when he sued a department store for alleged ADA
encountered barriers to access during [his] visits [to the      violations. In that case, Mosley, who is a wheelchair-
Toys-R-Us shopping center] that violate Title III of the        bound Arizona resident, alleged that the restrooms at
ADA." Gaylor v. Hamilton Crossing CMBS, 582 Fed.                two Kohl's stores located in Michigan were "inaccessible
App'x 576, 577 (6th Cir. 2014). Toys-R-Us moved to              for persons who use wheelchairs." 942 F.3d 752, 755
dismiss Gaylor's lawsuit, arguing that he lacked                (6th Cir. 2019). Mosley's standing turned on whether he
standing because he did not sufficiently allege that he         adequately alleged a likelihood of future harm
"had visited or intended to return to" Toys-R-Us. Id. at        necessary to request injunctive relief. The Sixth Circuit
578. The district court granted the motion, and the Sixth       concluded that "Mosley has sufficiently alleged a
Circuit reversed. Id. at 578-79, 581. The Sixth Circuit         plausible intent to return to the [Michigan Kohl's] stores.
found that "Gaylor has established the requisite threat of      . . . Although he is a resident of Arizona, he has family
prospective injury to seek injunctive relief against [Toys-     and friends that reside in the Detroit area whom he tries
R-Us] under Title III of the ADA" because he "alleged           to visit at least annually in the summers." Id. at 760. In
                                                                                                            Exhibit D
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reaching this conclusion, the Sixth Circuit held                   have standing. Laufer, a resident of Florida, is an ADA
that [*14] it "do[es] not require plaintiffs to provide a          tester who "scours the internet for hotel website that do
definitive plan for returning to the accommodation itself          not contain the required accessibility information" and,
to establish a threat of future injury." Id. Furthermore,          when she finds such a site, sues the hotel. Id. [*16] at
"[i]t is enough to allege an intent to return to the area          23 (Thomas, J., concurring). Laufer sued a Maine bed
and an interest in visiting the accommodation in the               and breakfast, "initially alleg[ing] that she was planning
future when it becomes ADA-compliant." Id. at 759. The             to visit [the hotel] as part of a cross-country trip from
court also directly addressed the standing of ADA tester           Florida to Maine to Colorado." Id. However, "she later
plaintiffs:                                                        disclaimed any intent to travel to Maine" or the hotel she
       Congress did not intend for ADA tester plaintiffs to        sued. Id. Justice Thomas concluded that Laufer lacked
       be deprived of standing in actions alleging the             standing for two reasons: (1) "her claim does not assert
       presence of architectural barriers. If it had, it would     a violation of a right under the ADA," id. at 25, and (2)
       have limited the statute's protections to clients or        "Laufer asserts no violation of her own rights . . . [due to]
       customers, as it did in other provisions of Title III, or   [h]er lack of intent to visit the hotel or even book a hotel
       it would have imposed a bona fide usage                     room elsewhere in Maine," id. at 26. Justice Thomas
       requirement, like that of the bona fide offer               rejected the notion that tester plaintiffs have standing to
       requirement for housing discrimination suits. Courts        "cast [themselves] in the role of a private attorney
       may not find that a plaintiff's status as an ADA            general" and monitor businesses (in this case, hotel
       tester undermines the plausibility of future injury.        websites) for ADA compliance. Id. Instead, Justice
       Therefore, Mosley's status as an ADA tester does            Thomas concluded, "[v]indicating the public interest . . .
       not deprive him of standing here.                           is the function of Congress and the Chief Executive, . . .
                                                                   not private plaintiffs." Id. (quoting Lujan, 504 U.S. at
Id. at 758 (citing Houston v. Marod Supermarkets, Inc.,            576) (internal quotation marks omitted).
733 F.3d 1323, 1332-34 (11th Cir. 2013) and Nanni v.
Aberdeen Marketplace, Inc., 878 F.3d 447, 457 (4th Cir.            Summarizing these four opinions, in both Gaylor and
2017)) (internal quotation marks and citations omitted).           Mosley, the plaintiffs alleged they had previously visited
                                                                   the businesses they sued and encountered barriers to
The Supreme Court recently considered a case                       access. See Gaylor, 582 Fed. App'x at 578-80; Mosley,
concerning standing of ADA tester plaintiffs,                      942 F.3d at 755. [*17] They further plausibly alleged a
acknowledging a split between the circuit courts over              desire to return to the areas where those businesses
whether tester [*15] plaintiffs have Article III standing.         were located, supported by allegations of their personal
See Acheson Hotels, LLC v. Laufer, 144 S.Ct. 18, 217               ties to those areas. See Gaylor, 582 Fed. App'x at 580-
L. Ed. 2d 155 (2023). In that case, the First Circuit Court        81; Mosley, 942 F.3d at 758. By contrast, Brintley and
of Appeals had concluded that the plaintiff, Laufer,               Acheson both concerned plaintiffs who performed solely
suffered an "informational injury" in addition to "feelings        online searches and made no allegations, or disclaimed
of frustration, humiliation, and second-class citizenry,"          their allegations, of future plans to patronize the
that this injury was particularized, and that, as a result,        businesses. See Brintley, 936 F.3d at 493; Acheson,
Laufer had standing to assert her claims. See Laufer v.            144 S.Ct. at 23 (Thomas, J., concurring).
Acheson Hotels, LLC, 50 F.4th 259, 274-76 (1st Cir.
2022). The First Circuit further concluded that Laufer             The Court reviews the allegations here against these
had plausibly alleged future injury because "she[]                 four important ADA standing cases. Jordan alleges that
alleged her concrete plans to go back to the websites in           "[o]n or about September of 2022, [Jordan] attempted to
the near future" and "ha[d] a sophisticated system to              but was deterred from patronizing and/or gaining equal
continue monitoring the non-compliant websites she                 access as a disabled patron to the Avis Car Rental."
f[ound]." Id. at 277. The Supreme Court's majority                 (Doc. No. 1 ¶ 11). He also alleges that he "lives within
opinion ultimately found the case to be moot and did not           thirty (30) miles" of the Avis Car Rental and "[b]ecause
decide the standing issue, but at the same time it                 the [Avis] is located on US HWY 41, a Rutherford
vacated the First Circuit's standing opinion with                  County thoroughfare that he frequents routinely,
instructions for the court to dismiss the case as moot. Id.        [Jordan] is routinely where the [Avis] is located and
at 22.                                                             travels in and about the immediate area of the [Avis]
                                                                   numerous times every month, if not every week." (Id. ¶
Justice Thomas wrote a concurring opinion to address               13). He does not, however, allege any facts explaining
the standing issue. He concluded that Laufer did not               his past or future rental car needs. Jordan additionally
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alleges that he "has visited, i.e. attempted [*18] to           2. Notice Pleading Standard
patronize, the [Avis] on multiple prior occasions" and
"intends on revisiting the [Avis] to enjoy the same             To state a claim under the ADA, a plaintiff must allege
experiences, goods, and services available to [Avis's]          "(1) that [he] is disabled within the meaning of the ADA;
non-disabled patron[s] as well as for Advocacy                  (2) that defendant[] own[s], lease[s], or operate[s] a
Purposes, but does not intend to continue to repeatedly         place of public accommodation; and (3) that defendant[]
re-expose himself to the ongoing barriers to equal              discriminated against [him] by denying [him] a full and
access and engage in the futile gesture of attempting to        fair opportunity to enjoy the services defendant[]
patronize the [Avis]." (Id. ¶¶ 15-16).                          provide[s]." Powell v. Columbus Med. Enterprises, LLC,
                                                                2021 U.S. App. LEXIS 36781, 2021 WL 8053886, at *2
The Court finds that, by the skin of his teeth, Jordan has      (6th Cir. Dec. 13, 2021) (quoting Camarillo v. Carrols
met the standing requirements of pleading future                Corp., 518 F.3d 153, 156 (2d Cir. 2008)). As the Court
likelihood of injury necessary in a case such as this,          explained during oral argument, the Complaint fails to
where the primary relief sought is an injunction. See           allege the third element:
Mosley, 942 F.3d at 756. Like the plaintiffs in Gaylor and
Mosley, Jordan alleged his connection to the area                   I do want to walk through the Complaint in fairness
where the Avis Car Rental is located and his intent to              to you. I can't tell that you've ever identified the
patronize that business in the future once barriers to his          barriers that he encountered. You say barriers. But
access are removed. (See Doc. No. 1 ¶¶ 13, 15-16).                  when I read through the Complaint, I'll just tell you
These allegations distinguish him from the plaintiffs in            the problem I'm having on his Rule 12 motion is, all
Acheson and Brintley, who either made no allegations                I really know is that Mr. Jordan on or about
or later disclaimed their allegations that they intended to         September of 2022 attempted to, but was deterred
patronize the businesses they sued.                                 from, patronizing and/or gaining equal access.
                                                                    Which is a conclusion. So after you plead that . . .
Future likelihood of injury, however, is only one of two            now I need the who, what, when, where, and how.
components of standing that Jordan must plead. He                   That gives me the factual averments to support
must also allege—as [*19] every plaintiff must—that he              that. And you really never tell me what physical . . .
has been previously injured by the ADA violations that              barriers did he encounter.
are the subject of his complaint. Here, Jordan does not
meet the plausibility test. He never offers the                 (Doc. No. 45 at 8:3-16). The Court cannot credit
circumstances surrounding his need to rent cars. He             conclusory allegations [*21] without factual allegations
alleges only that he "recently traveled to the [Avis Car        to support them. See Binno v. Amer. Bar Ass'n, 826
Rental] as a patron and as an independent advocate for          F.3d 338, 345-46 (6th Cir. 2016). Therefore, in addition
the disabled, encountered and/or observed the barriers          to Jordan's lack of standing, the Court must also dismiss
to access[,] . . . engaged those barriers where physically      this case for failing to state a plausible claim.
possible, [and] suffered legal harm and legal injury."
(Doc. No. 1 ¶¶ 17, 31). As the Court explained during
oral argument, this allegation of injury is a conclusory        3. Attorney Misconduct Allegations
statement. (See Doc. No. 45 at 9:11-19, 11:1-20, 12:3-
                                                                The Court notes the serious allegation in Beasley &
18, 23:3-9, 25:15-24). Moreover, Jordan's counsel
                                                                Associates' motion that the Complaint is just one
admitted that the Complaint does not explain Jordan's
                                                                example of a pattern of shakedown behavior instituted
injury. (Id. at 25:15-20). Simply put, the Complaint's
                                                                by the Wampler, Carroll, Wilson & Sanderson law firm
allegations do not describe what, if any, injury Jordan
                                                                and certain ADA monitors, including Jordan. (See Doc.
encountered when he visited the Avis Car Rental. It is
                                                                No. 24 at 1-2). The Court notes that Jordan's attorney,
not enough for Jordan to have suffered a statutory injury
                                                                Rebecca J. Hutto, and other attorneys at her firm,
under the ADA; he must also have suffered an Article III
                                                                including J. Luke Sanderson, have filed at least 88
injury to have standing to bring his claims. See Brintley,
                                                                separate lawsuits before this Court since 2019, all or
936 F.3d at 492 (citing Roberts v. Hamer, 655 F.3d 578
                                                                most alleging similar claims to those in this case.
(6th Cir. 2011)). Without any non-conclusory allegations
                                                                According to Beasley & Associates' motion and Ms.
of injury, the court is "deprive[d] . . [*20] . of power over
                                                                Newman's affidavit, these attorneys and testers follow a
the matter." Id. at 493.
                                                                suspect playbook. First, a tester visits a business to
                                                                identify non-compliance with the ADA. Next, the law firm
                                                                                                         Exhibit D
                                                                                                        Page 6 of 7
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sends the business a letter threatening to take legal         businesses have received letters identifying ADA
action and attaching a form complaint. The letter offers      violations and requesting $8,000 as settlement in lieu of
an alternative to a lawsuit if the business pays the firm     attorneys' fees. (Doc. No. 25 ¶¶ 6-10). Given the vague
eight thousand dollars "in lieu of attorney's fees" and       and conclusory nature of the Complaint in this case, the
brings its property [*22] into ADA compliance, the firm       Court finds it hard to believe that [*24] counsel
and tester plaintiff will not sue the business. (See Doc.     accumulated $8,000 in attorneys' fees prior to filing this
No. 24 at 3-5; Doc. No. 25 ¶¶ 4-10).                          lawsuit. Moreover, if counsel is sharing any of the
                                                              settlement fees it collects, that practice violates the
This conduct raises serious ethical issues under the          ADA's mandate that plaintiffs may only recover
Tennessee Rules of Professional Conduct and the               attorneys' fees, not money damages, and also violates
intention of the ADA's civil suit provision. Courts across    Tennessee Rule of Professional Conduct 1.8, which
the country have condemned this shakedown-like                prevents an attorney from "enter[ing] into a business
behavior. See, e.g., Rodriguez v. Investco, LLC, 305 F.       transaction with a client or knowingly acquir[ing] an
Supp. 2d 1278, 1281-82 (M.D. Fla. 2004) ("The current         ownership, possessory, security or other pecuniary
ADA lawsuit binge is, therefore, essentially drive by         interest adverse to a client" and "provid[ing] financial
economics-that is, the economics of attorney's fees.");       assistance to a client in connection with pending or
Molski v. Mandarin Touch Restaurant, 347 F. Supp. 2d          contemplated litigation." Tenn. R. Prof. Conduct 1.8(a)
860, 862-63 (C.D. Cal. 2004) ("The ability to profit from     and (e). Given the high number of cases Jordan's
ADA litigation has given birth to . . . a cottage industry.   counsel has filed in this Court since at least 2019, the
The scheme is simple: an unscrupulous law firm sends          Court advises that counsel proceed with caution.
a disabled individual to as many businesses as
possible, in order to have him aggressively seek out any      An appropriate order will be entered.
and all violations of the ADA. Then, rather than simply
informing a business of the violations, and attempting to     /s/ Waverly D. Crenshaw, Jr.
remedy the matter through conciliation and voluntary
                                                              WAVERLY D. CRENSHAW, JR.
compliance, a lawsuit is filed, requesting damage
awards that would put many of the targeted                    CHIEF UNITED STATES DISTRICT JUDGE
establishments out of business. Faced with the specter
of costly litigation and a potentially fatal judgment
against them, most businesses quickly settle the              ORDER
matter."). One notable recent example is the United
States [*23] District Court for the District of Maryland's    For the reasons set forth in the accompanying
suspension of attorney Tristan W. Gillespie from              Memorandum Opinion, David Jordan's Motion to
practicing in that court for six months. See In re: Tristan   Supplement Response to Defendant's Motion for
W. Gillespie, No. 1:21-mc-14, 2023 U.S. Dist. LEXIS           Summary Judgment and Motion to Dismiss or in the
136952, Report and Recommendation (Doc. No. 13) (D.           Alternative Motion for Leave to Amend the Complaint
Md. Jun. 30, 2023). After conducting a full investigation,    (Doc. No. 41) is DENIED. Joe B. Beasley & Associates'
the court concluded that though the ADA "does not             Motion to Dismiss (Doc. No. 24) is GRANTED. The
allow money damages" and only allows recovery for             Complaint [*25] is DISMISSED WITH PREJUDICE.
attorneys' fees and costs, on several occasions, "the
agreed-upon settlement sum was larger, sometimes              IT IS SO ORDERED.
substantially so, than the actual attorneys' fees and
                                                              /s/ Waverly D. Crenshaw, Jr.
expenses logged by the firm." Id. at 9. The court further
found that there was a "disturbing pattern of Gillespie       WAVERLY D. CRENSHAW, JR.
having exaggerated and misrepresented work
performed or to be performed to opposing counsel              CHIEF UNITED STATES DISTRICT JUDGE
during settlement negotiations and to various courts in
his fee petition submissions." Id. at 10.
                                                                End of Document
Here, the Court does not know if Jordan's counsel has
engaged in the type of conduct the District Court in
Maryland condemned. The Court simply notes that it is
highly suspicious that Newman reports several
                                                                                                            Exhibit D
                                                                                                           Page 7 of 7
